                           Case:20-01947-jwb                             Doc #:457 Filed: 04/13/2021                              Page 1 of 30



                                                                  UNITED STATES BANKRUPTCY COURT
                                                                   WESTERN DISTRICT OF MICHIGAN


In re: BARFLY VENTURES, LLC, et al.,1                                                                           Case No. 20-1947-jwb
                                                                                                                Reporting Period: January 31, 2021


                                                                       MONTHLY OPERATING REPORT
                                     File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                    Document          Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                       Form No.                    Attached          Attached         Attached
Schedule of Cash Receipts and Disbursements                                            MOR-1                    MOR 1 - Disbursements
   Bank Reconciliation (or copies of debtor's bank reconciliations)                    MOR-1a                            X
   Schedule of Professional Fees Paid                                                  MOR-1b                            X
   Copies of bank statements                                                                                          MOR 1a
   Cash disbursements journals
Statement of Operations                                                                MOR-2                              X
Balance Sheet                                                                          MOR-3                                                X
Status of Postpetition Taxes                                                           MOR-4                             N/A
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                   MOR-4                             N/A
  Listing of aged accounts payable                                                     MOR-4                             N/A
Accounts Receivable Reconciliation and Aging                                           MOR-5                             N/A
Debtor Questionnaire                                                                   MOR-5                              X


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                ______________________________
Signature of Debtor                                                                    Date


_______________________________________                                                ______________________________
Signature of Joint Debtor                                                              Date

                                                                                       4.12.21
_______________________________________                                                ______________________________
Signature of Authorized Individual*                                                    Date

Ned Lidvall                                                                            CEO
_______________________________________                                                ______________________________
Printed Name of Authorized Individual                                                  Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.

1- The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC
Holdings, LLC (d/b/a Grand Rapids Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC (5229), HopCat-Chicago, LLC (7552),
HopCatConcessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999),
HopCatLouisville, LLC (0252), HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-Royal Oak, LLC (1935), HopCat-St.
Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House, LLC and McFadden’s Restaurant Saloon)(4255).
                           Case:20-01947-jwb                     Doc #:457 Filed: 04/13/2021                                Page 2 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                     Case No. 20-1947-jwb
                        Debtor                                                                          Reporting Period: January 31, 2021


                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                  BANK ACCOUNTS                              CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.    PAYROLL       TAX       OTHER           ACTUAL            PROJECTED              ACTUAL              PROJECTED
CASH BEGINNING OF MONTH


RECEIPTS
CASH SALES
ACCOUNTS RECEIVABLE
LOANS AND ADVANCES
SALE OF ASSETS
                                                                                  See MOR 1 - Disbursements
OTHER (ATTACH LIST)
TRANSFERS (FROM DIP ACCTS)


  TOTAL RECEIPTS


DISBURSEMENTS
NET PAYROLL
PAYROLL TAXES
SALES, USE, & OTHER TAXES
INVENTORY PURCHASES
SECURED/ RENTAL/ LEASES
INSURANCE
ADMINISTRATIVE
SELLING
OTHER (ATTACH LIST)


OWNER DRAW *
TRANSFERS (TO DIP ACCTS)


PROFESSIONAL FEES
U.S. TRUSTEE QUARTERLY FEES
COURT COSTS
TOTAL DISBURSEMENTS


NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS)



CASH - END OF MONTH
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                          THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)
TOTAL DISBURSEMENTS                                                                                                                             $
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $
                                                                         Case:20-01947-jwb                         Doc #:457 Filed: 04/13/2021                                          Page 3 of 30


In re: BARFLY VENTURES, LLC, et al.                                                                                                                                                                Case No. 20-1947-jwb
          Debtor                                                                                                                                                                        Reporting Period: January 31, 2021


                                                                                                                                     MOR 1 - Disbursements
                                      Beginning            In-transit                                                                                                                                         Ending Bank
                                     Balance BS          (deposits/ x-                                                                                                                  Service Charges         Balance         Ending Balance
            Account                  12/31/2020            fer/disb.)         Deposits      Disbursements        X-Fer Out           X-fer In         X-fer to Buyer      Chargebacks      & Other             1/31/2021          BS 1/31/2021           Bank Stmt         Diff.
               Chemical 5015     $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
               Chemical 5608     $         14,751      $              -   $           23    $         -      $            -      $          -       $             -      $         -    $             (3)   $        14,771     $         14,771     $        14,771             -
               Chemical 7488     $      1,188,764      $              -   $          152    $         -      $      (100,000)    $          -       $             -      $         -    $           -       $     1,088,916     $      1,088,916     $     1,088,916             -
               Chemical 5554     $         14,136      $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           (59)    $        14,077     $         14,077     $        14,077            0.00
        Main Merchantile 4777    $        178,463      $              -   $       18,385    $     (24,450)   $            (48)   $      100,274     $        (147,040)   $         -    $          (857)    $       124,727     $        124,727     $       124,727           (0.00)
              Mercantile 6311    $                0    $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $              0    $               0                               0.00
              Mercantile 6926    $               (0)   $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
          FSA-Mercantile 0888    $             -       $              -   $          -      $         -      $            -      $           17     $             -      $         -    $           (17)    $           -       $            -                                   -
        GRBC-Mercantile 1069     $                0    $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $              0    $               0                               0.00
           AA-Mercantile 3877    $                0    $              -   $          -      $         (19)   $            -      $           19     $             -      $         -    $           -       $              0    $               0                               0.00
        GRbel-Mercantile 0488    $                0    $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $              0    $               0                               0.00
                   HCBR 3840     $                0    $              -   $          -      $          23    $            (23)   $          -       $             -      $         -    $           -       $              0    $               0                               0.00
              HC Detroit 3859    $               (0)   $              -   $          (13)   $          55    $            (55)   $           13     $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
                   HC EL 8171    $               (0)   $              -   $          -      $          56    $            (56)   $          -       $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
                   HCGR 4123     $                0    $              -   $          -      $          62    $            (62)   $          -       $             -      $         -    $           -       $              0    $               0                               0.00
                 HCHOL 0451      $                0    $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $              0    $               0                               0.00
                   HCKC 9044     $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                   HCKZ 9227     $                0    $              -   $          -      $          39    $            (39)   $          -       $             -      $         -    $           -       $              0    $               0                               0.00
                   HCLN 0830     $                0    $              -   $          -      $          39    $            (39)   $          -       $             -      $         -    $           -       $              0    $               0                               0.00
                   HCLV 8353     $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                   HCLX 5216     $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                  HCMD 8215      $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                  HCMN 8664      $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                   HCRO 9062     $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                  Stellas 4115   $               (0)   $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
                Waldron4460      $               (0)   $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
                 HCCHIC6863      $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                   HCLIN8959     $               (0)   $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $             (0)   $              (0)                             (0.00)
                     BFV4153     $          2,169      $              -   $        9,295    $         -      $            -      $          -       $             -      $         -    $           (12)    $        11,452     $         11,452     $        11,452             -
                     BFV9371     $         29,586      $              -   $          -      $         -      $            -      $          -       $             -      $         -    $          (221)    $        29,365     $         29,365     $        29,365             -
                     BFV9828     $         41,159      $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           (34)    $        41,125     $         41,125     $        41,125             -
         Cash on hand & misc.    $             -       $              -   $          -      $         -      $            -      $          -       $             -      $         -    $           -       $           -       $            -                                   -
                                                                                                                                                                                                                                                                                 -
Total                            $       1,469,028     $             -    $       27,844    $     (24,195) $        (100,323) $         100,323     $      (147,040) $            -     $        (1,204) $        1,324,433     $     1,324,433      $     1,324,433   $           (0)
                                                                                                                                                -

                                                       UST Fees
                                                       Disbursements for period             $      24,195
                                                       $15,000 to $74,999                   $         650
                    Case:20-01947-jwb                           Doc #:457 Filed: 04/13/2021                                      Page 4 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                           Case No. 20-1947-jwb
                Debtor                                                                                        Reporting Period: January 31, 2021

                                                                BANK RECONCILIATIONS
                                                                  Continuation Sheet for MOR-1
                   A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.

                                                        Operating                          Payroll                         Tax                                Other
                                              #                               #                               #                               #
BALANCE PER BOOKS

BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
                                                                                              See Attachment MOR 1a
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
   balance per books

DEPOSITS IN TRANSIT                                Date          Amount            Date          Amount            Date          Amount               Date        Amount




CHECKS OUTSTANDING                                Ck. #          Amount            Ch. #         Amount            Ck. #         Amount               Ck. #       Amount




OTHER
                                       Case:20-01947-jwb                Doc #:457 Filed: 04/13/2021                      Page 5 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                                                                        Case No. 20-1947-jwb
                Debtor                                                                                                                        Reporting Period: January 31, 2021

                                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                       This schedule is to include all retained professional payments from case inception to current month.

                                                                              Amount                          Check                   Amount Paid               Filing-To-Date
                      Payee                          Period Covered          Approved        Payor        Number    Date             Fees  Expenses           Fees        Expenses

Rock Creek Advisors (Debtor FA)                      Nov                 $      45,118 Debtor             WIRE                     $ 36,094               $   538,017   $      -
Mastodon Ventures (Debtor IB)                                                          Debtor             WIRE                                            $    60,000   $      -
Warner Norcross + Judd (Debtor - Local)              Nov                 $       6,727 Debtor             WIRE                     $ 5,382      $ 3,528   $   152,588   $   52,807
Sugar Felsnethal Grais & Helsinger LLP (UCC)         Nov & Fee App       $      62,430 Debtor             WIRE                     $ 60,270               $   266,790   $       35
Jaffee Raitt Heuer & Weiss (UCC)                     Nov & Fee App       $      34,327 Debtor             WIRE                     $ 31,006     $     5   $   131,477   $      168
Amherst Partners (UCC FA)                            Fee App             $      10,756 Debtor             WIRE                     $ 10,756               $    53,780   $      -
Pachulski Stang Ziehl & Jones LLP (Debtor Counsel)                                     Debtor             WIRE                                            $   142,102   $      746
                      Case:20-01947-jwb                   Doc #:457 Filed: 04/13/2021                         Page 6 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                               Case No. 20-1947-jwb
                Debtor                                                                                            Reporting Period: January 31, 2021

                                                STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                                   Cumulative Filing to
REVENUES                                                                           Current Reporting Month               Date
Gross Revenues                                                                                                                8,445,922
Less: Returns and Allowances                                                                                                    266,160
Net Revenue                                                                                                                   8,179,762
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold                                                                                                                 2,075,402
                                                                                                                                   6,104,360
OPERATING EXPENSES
Cure Costs                                                                                                                          508,081
Employee Benefits Programs                                                                              22,285                      360,685
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance                                                                                                               14,400
Rent and Lease Expense                                                                                                             2,075,725
Salaries/Commissions/Fees                                                                                                          3,420,137
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities                                                                                                 1,531                     6,649
Misc                                                                                                        985                 2,695,252
Total Operating Expenses Before Depreciation                                                            24,800                  9,080,930
Depreciation/Depletion/Amortization                                                                                             2,249,155
Net Profit (Loss) Before Other Income & Expenses                                                       (24,800)                (5,225,725)
OTHER INCOME AND EXPENSES
Other Income (attach schedule)                                                                                                    (73,363)
Interest Expense                                                                                                                1,458,001
Other Expense (See attached schedule) "Other G&A"                                                                                 417,527
Net Profit (Loss) Before Reorganization Items                                                          (24,800)                (7,027,890)
REORGANIZATION ITEMS
Professional Fees                                                                                       147,040                     973,460
Impairment                                                                                                                          186,130
U. S. Trustee Quarterly Fees                                                                                                         59,430
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)                                                                                     731,161
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                                    ($171,840)                (8,978,071)

*"Insider" is defined in 11 U.S.C. Section 101(31).
                               Case:20-01947-jwb                                 Doc #:457 Filed: 04/13/2021                                               Page 7 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                                                   Case No. 20-1947-jwb
                                Debtor                                                                                                Reporting Period: January 31, 2021


                                                                         BALANCE SHEET 2

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                                        ASSETS                                                CURRENT REPORTING MONTH                          PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents                                                                                                                                $6,661,689
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)                                                                                                                                          $36,786
Notes Receivable
Inventories                                                                                                                                                       $628,379
Prepaid Expenses                                                                                                                                                  $385,740
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                                                                                             $7,712,594
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment                                                                                                                                         $21,414,637
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                                                                                      $21,414,637
OTHER ASSETS
Loans to Insiders* 1                                                                                                                                                    $0
Other Assets (attach schedule)                                                                                                                                      857,662
TOTAL OTHER ASSETS                                                                                                                                                $857,662

TOTAL ASSETS                                                                                                                                                    $29,984,893


                                                                                                BOOK VALUE AT END OF                           BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                 CURRENT REPORTING MONTH                          PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Accrued Liabilities (see schedule)
Deferred Lease Credits
Secured Debt / Leases Obligations (Post Petition Interest)
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt                                                                                                                                                    $29,729,084
Priority Debt
Unsecured Debt
 Accounts Payable                                                                                                                                                  5,154,857
 PPP Loan                                                                                                                                                          6,482,827
 Acrued Liabilites (see schedule)                                                                                                                                  1,412,643
 Other Liabilities (see schedule)                                                                                                                                    185,318
 Deferred Lease Credits                                                                                                                                           10,065,439
TOTAL PRE-PETITION LIABILITIES                                                                                                                                  $53,030,168

TOTAL LIABILITIES                                                                                                                                               $53,030,168
OWNER EQUITY
Member Activity                                                                                                                                                 $16,495,173
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings                                                                                                                                               (31,611,871)
Adjustments to Owner Equity (attach schedule)
Net Income                                                                                                                                                       (7,928,577)
NET OWNER EQUITY                                                                                                                                                (23,045,275)

TOTAL LIABILITIES AND OWNERS' EQUITY                                                                                                                            $29,984,893

*"Insider" is defined in 11 U.S.C. Section 101(31).

1-                                                                                                                                                     .
     At December 31, 2018, the Company had unsecured, noninterest bearing advances due from a member in the amount of $1,554,059
2-
     As of the sale transaction date the Debtor's only asset was cash as reported on MOR 1 Disbursements.
                        Case:20-01947-jwb                        Doc #:457 Filed: 04/13/2021                               Page 8 of 30



In re: BARFLY VENTURES, LLC, et al.                                                                      Case No. 20-1947-jwb
              Debtor                                                                                     Reporting Period: January 31, 2021

                                                      STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                      Beginning         Amount                                                                Ending
                                                        Tax            Withheld or         Amount              Date           Check No.         Tax
                                                      Liability         Accrued             Paid               Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income                                                                                                N/A
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                            SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                          Number of Days Past Due
                                                       Current             0-30            31-60          61-90                Over 90         Total
Accounts Payable                                                                                                                                          $0
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts                                         $0               $0                $0                $0                 $0               $0

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).
                      Case:20-01947-jwb                   Doc #:457 Filed: 04/13/2021            Page 9 of 30



In re: BARFLY VENTURES, LLC, et al.                                                            Case No. 20-1947-jwb
             Debtor                                                                            Reporting Period: January 31, 2021


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                       Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                                Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                       Yes            No
1. Have any assets been sold or transferred outside the normal course of business                                 X
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                X
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation                X
   below.
4. Are workers compensation, general liability and other necessary insurance                         X
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                   X
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.


Debtor Questionnaire explanation.
                                             Case:20-01947-jwb              Doc #:457 Filed: 04/13/2021          Page 10 of 30

                                                     Return Service Requested                                        Page:             1 of 2
                                                                                                                     Statement Date: 01/29/2021
                                                                                                                     Primary Account: XXXXXX4777
                                                                          07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-18525-0001




                                                                                                                      E
                                                             BARFLY VENTURES, LLC                              <T> 30-0
                                                             35 OAKES ST SW STE 400                                   0
                                                             GRAND RAPIDS, MI 49503                                   0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                        Account: XXXXXX4777
                               Last Statement     Previous Balance         This Statement    Current Balance     Total Credits      Total Debits
                                  12/31/20            178,463.27                  01/29/21     124,727.05       143,178.56 (33)    196,914.78 (23)


                              CREDITS
                              Date Description                                                                                             Amount
                              01/04   Transfer From Coml Analysis Ck Account          9227                                                   39.42
                              01/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          155.00
                              01/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          200.00
                              01/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          250.00
                              01/05   Transfer From Coml Analysis Ck Account          3840                                                   23.26
                              01/05   Transfer From Coml Analysis Ck Account          0830                                                   38.53
                              01/05   Transfer From Coml Analysis Ck Account          3859                                                   55.15
                              01/05   Transfer From Coml Analysis Ck Account         8171                                                    55.69
                              01/05   Transfer From Coml Analysis Ck Account         4123                                                    62.42
                              01/05   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          275.00
                              01/06   Transfer From Coml Analysis Ck Account          3877                                                   18.82
                              01/06   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           50.00
                              01/07   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           47.00
                              01/07   Adp Payroll Fees Ach Return                                                                           194.25
                              01/07   Payments Bhn Ft Sre                        For 2021-01-07 A/C Mercanti                              6,175.25
                              01/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           70.00
                              01/08   Incoming Wire           Barfly Ventures, Llc                                                      100,000.00
                              01/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          140.00
                              01/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          175.00
                              01/12   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           35.00
                              01/12   Infinisource0706 Pc Dec20                                                                           2,866.56
                              01/14   Payments Yelp Inc.        Rmr*Iv*12-Jan-2021 Nowait**8.22*8.22*0\dtm*003*20210                          8.22
                              01/15   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           80.00
                              01/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           30.00
                              01/19   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          220.00
                              01/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           75.00
                              01/22   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           75.00
                              01/22   Mercmobile Deposit                                                                                 10,000.00
                              01/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           65.00
                              01/26   Barfly Ventures 1054 Return Feb Fees                                                               21,438.99
                              01/27   Mercmobile Deposit                                                                                     50.00
                              01/27   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                          170.00
                              01/29   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                           40.00
                                             Case:20-01947-jwb          Doc #:457 Filed: 04/13/2021               Page 11 of 30
                                                                              BARFLY VENTURES, LLC                       Page:            2 of 2
                                                                              35 OAKES ST SW STE 400
                                                                              GRAND RAP DS, MI 49503                     Statement Date: 01/29/2021
                                                                                                                         Primary Account: XXXXXX4777




                               CHECKS
MGMCSTMTN 210201-18525-0002




                               Date       Check No      Amount         Date         Check No           Amount     Date      Check No      Amount
                              01/05       84154          152.50       01/27         84155                108.30
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                              Amount
                              01/04   Transfer To Coml Analysis Ck Account        3859                                                         12.50
                              01/04   Mthchgs Worldpay Merch Bankcard            Barfly App                                                   393.23
                              01/05   Transfer To Coml Analysis Ck Account        3877                                                         18.82
                              01/06   Adp Payroll Fees Adp - Fees 10fb7                                                                       194.25
                              01/07   Barfly Ventures 1054 Clm Fund                                                                        25,151.08
                              01/07   Internet Transfer To Internal Bank Ac XXXXXX639 On 1/07/21 At 15:18                                 147,040.39
                              01/15   Transfer To Coml Analysis Ck Account                                                                     17.00
                              01/15   Commercial Service Charge                                                                                17.60
                              01/15   Commercial Service Charge                                                                                67.30
                              01/15   Commercial Service Charge                                                                                67.45
                              01/15   Commercial Service Charge                                                                                67.60
                              01/15   Commercial Service Charge                                                                                67.60
                              01/15   Commercial Service Charge                                                                                67.75
                              01/15   Commercial Service Charge                                                                                67.90
                              01/15   Commercial Service Charge                                                                                67.90
                              01/15   Commercial Service Charge                                                                                68.05
                              01/15   Commercial Service Charge                                                                                68.20
                              01/15   Commercial Service Charge                                                                                68.24
                              01/15   Commercial Service Charge                                                                               161.43
                              01/19   Twcable National Cable Svcs                                                                           1,530.70
                              01/25   Barfly Ventures 1054 Feb Fees                                                                        21,438.99

                               DAILY BALANCE
                                 Date                  Balance             Date                        Balance     Date                Balance
                                  01/04              178,701.96            01/06                 178,915.26        01/08           113,210.29
                                  01/05              179,040.69            01/07                  13,140.29        01/11           113,525.29
                                  01/12              116,426.85            01/21                 114,435.35        01/27           124,687.05
                                  01/14              116,435.07            01/22                 124,510.35        01/29           124,727.05
                                  01/15              115,641.05            01/25                 103,136.36
                                  01/19              114,360.35            01/26                 124,575.35
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021               Page 12 of 30
                                                                                                                                 FINAL STATEMENT
                                                   Return Service Requested                                                Page:             1 of 1
                                                                                                                           Statement Date: 01/29/2021
                                                                                                                           Primary Account: XXXXXX4123
                                                                        07001
                                                                                                                           Documents:       0

                                                                                                                           Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-09627-0001




                                                                                                                        E
                                                           9 VOLT LLC                                             <C> <T>
                                                           DBA HOPCAT                                                   0
                                                           OPERATING                                                    0
                                                           35 OAKES ST SW STE 400
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                              Account: XXXXXX4123
                               Last Statement    Previous Balance        This Statement         Current Balance     Total Credits         Total Debits
                                  12/31/20             0.00                     01/29/21             0.00                62.42 (2)          62.42 (2)


                              CREDITS
                              Date Description                                                                                                   Amount
                              01/05 Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Grand Rapids - Ecomm                              62.42
                              01/08 Request To Close Account - Shawn Blonk                                                                           0.00

                              DEBITS
                              Date Description                                                                                                   Amount
                              01/05 Transfer To Coml Analysis Ck Account              4777                                                          62.42
                              01/08 Request To Close Account - Shawn Blonk                                                                           0.00

                              DAILY BALANCE
                                Date                Balance                   Date                 Balance           Date                 Balance
                                 01/05                                        01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021          Page 13 of 30
                                                                                                                        FINAL STATEMENT
                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 01/29/2021
                                                                                                                   Primary Account: XXXXXX4115
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-09626-0001




                                                                                                                   E
                                                           50 AMP FUSE, LLC                                  <C> <T>
                                                           DBA STELLA'S LOUNGE                                     0
                                                           OPERATING                                               0
                                                           35 OAKES ST SW STE 400
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                      Account: XXXXXX4115
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21        0.00             0.00 (1)           0.00 (1)


                              CREDITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DEBITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021          Page 14 of 30
                                                                                                                        FINAL STATEMENT
                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 01/29/2021
                                                                                                                   Primary Account: XXXXXX4460
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-09809-0001




                                                                                                                   E
                                                           LUCK OF THE IRISH, LLC                            <C> <T>
                                                           DBA MCFADDENS RESTAURANT AND                            0
                                                           SALOON                                                  0
                                                           35 OAKES ST SW STE 400
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                      Account: XXXXXX4460
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21        0.00             0.00 (1)           0.00 (1)


                              CREDITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DEBITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021          Page 15 of 30
                                                                                                                        FINAL STATEMENT
                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 01/29/2021
                                                                                                                   Primary Account: XXXXXX1069
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-09967-0001




                                                                                                                   E
                                                           GRBC HOLDINGS, LLC                                <C> <T>
                                                           DBA GRAND RAPIDS BREWING CO                             0
                                                           35 OAKES ST SW STE 400                                  0
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                      Account: XXXXXX1069
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21        0.00             0.00 (1)           0.00 (1)


                              CREDITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DEBITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021               Page 16 of 30
                                                                                                                                 FINAL STATEMENT
                                                   Return Service Requested                                                Page:             1 of 1
                                                                                                                           Statement Date: 01/29/2021
                                                                                                                           Primary Account: XXXXXX8171
                                                                        07001
                                                                                                                           Documents:       0

                                                                                                                           Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-10215-0001




                                                                                                                        E
                                                           EL BREWPUB, LLC                                        <C> <T>
                                                           DBA HOPCAT EAST LANSING                                      0
                                                           35 OAKES ST SW STE 400                                       0
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                              Account: XXXXXX8171
                               Last Statement    Previous Balance        This Statement         Current Balance     Total Credits         Total Debits
                                  12/31/20             0.00                     01/29/21              0.00               55.69 (2)          55.69 (2)


                              CREDITS
                              Date Description                                                                                                   Amount
                              01/05 Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat East Lansing - Ecomm                              55.69
                              01/08 Request To Close Account - Shawn Blonk                                                                           0.00

                              DEBITS
                              Date Description                                                                                                   Amount
                              01/05 Transfer To Coml Analysis Ck Account              4777                                                          55.69
                              01/08 Request To Close Account - Shawn Blonk                                                                           0.00

                              DAILY BALANCE
                                Date                Balance                   Date                 Balance           Date                 Balance
                                 01/05                                        01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021                 Page 17 of 30
                                                                                                                                   FINAL STATEMENT
                                                   Return Service Requested                                                  Page:             1 of 1
                                                                                                                             Statement Date: 01/29/2021
                                                                                                                             Primary Account: XXXXXX3840
                                                                        07001
                                                                                                                             Documents:       0

                                                                                                                             Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-16434-0001




                                                                                                                          E
                                                           HOPCAT- INDIANAPOLIS, LLC                                <C> <T>
                                                           35 OAKES ST SW STE 400                                         0
                                                           GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                Account: XXXXXX3840
                               Last Statement    Previous Balance        This Statement         Current Balance       Total Credits         Total Debits
                                  12/31/20             0.00                     01/29/21              0.00                 23.26 (2)          23.26 (2)


                              CREDITS
                              Date Description                                                                                                     Amount
                              01/05 Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Indianapolis - Ecomm -                              23.26
                              01/08 Request To Close Account - Shawn Blonk                                                                             0.00

                              DEBITS
                              Date Description                                                                                                     Amount
                              01/05 Transfer To Coml Analysis Ck Account              4777                                                            23.26
                              01/08 Request To Close Account - Shawn Blonk                                                                             0.00

                              DAILY BALANCE
                                Date                Balance                   Date                 Balance             Date                 Balance
                                 01/05                                        01/08
                                             Case:20-01947-jwb              Doc #:457 Filed: 04/13/2021                 Page 18 of 30
                                                                                                                                  FINAL STATEMENT
                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 01/29/2021
                                                                                                                            Primary Account: XXXXXX3859
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-16435-0001




                                                                                                                            E
                                                             HOPCAT-DETROIT, LLC                                      <C> <T>
                                                             35 OAKES ST SW STE 400                                         0
                                                             GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX3859
                               Last Statement     Previous Balance         This Statement           Current Balance     Total Credits      Total Debits
                                  12/31/20               0.00                     01/29/21               0.00             67.65 (4)          67.65 (3)


                              CREDITS
                              Date Description                                                                                                    Amount
                              01/04   Transfer From Coml Analysis Ck Account                 4777                                                    12.50
                              01/05   Intl Bancard Ach Return                                                                                        12.50
                              01/05   Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Detroit - Ecomm                                  42.65
                              01/08   Request To Close Account - Shawn Blonk                                                                          0.00

                              DEBITS
                              Date Description                                                                                                    Amount
                              01/04 Ach Intl Bancard Gift Card Sales                                                                                 12.50
                              01/05 Transfer To Coml Analysis Ck Account                4777                                                         55.15
                              01/08 Request To Close Account - Shawn Blonk                                                                            0.00

                              DAILY BALANCE
                                Date                  Balance                   Date                  Balance            Date              Balance
                                 01/04                                          01/05                                   01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021                 Page 19 of 30
                                                                                                                                FINAL STATEMENT
                                                   Return Service Requested                                               Page:             1 of 1
                                                                                                                          Statement Date: 01/29/2021
                                                                                                                          Primary Account: XXXXXX3877
                                                                        07001
                                                                                                                          Documents:       0

                                                                                                                          Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-16436-0001




                                                                                                                          E
                                                           HOPCAT-ANN ARBOR LLC                                     <C> <T>
                                                           35 OAKES ST SW STE 400                                         0
                                                           GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                             Account: XXXXXX3877
                               Last Statement    Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21               0.00             37.64 (3)          37.64 (3)


                              CREDITS
                              Date Description                                                                                                  Amount
                              01/05 Transfer From Coml Analysis Ck Account                 4777                                                    18.82
                              01/06 Vantiv_intg_pymt Ach Return                                                                                    18.82
                              01/08 Request To Close Account - Shawn Blonk                                                                          0.00

                              DEBITS
                              Date Description                                                                                                  Amount
                              01/05 Billng Vantiv_intg_pymt Merch Bankcard               Hopcat Ann Arbor - Ecomm                                  18.82
                              01/06 Transfer To Coml Analysis Ck Account              4777                                                         18.82
                              01/08 Request To Close Account - Shawn Blonk                                                                          0.00

                              DAILY BALANCE
                                Date                Balance                   Date                  Balance            Date              Balance
                                 01/05                                        01/06                                   01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021          Page 20 of 30
                                                                                                                        FINAL STATEMENT
                                                   Return Service Requested                                        Page:             1 of 1
                                                                                                                   Statement Date: 01/29/2021
                                                                                                                   Primary Account: XXXXXX8215
                                                                        07001
                                                                                                                   Documents:       0

                                                                                                                   Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-16281-0001




                                                                                                                   E
                                                           HOPCAT-MADISON, LLC                               <C> <T>
                                                           35 OAKES ST SW STE 400                                  0
                                                           GRAND RAPIDS, MI 49503                                  0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                      Account: XXXXXX8215
                               Last Statement    Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21        0.00             0.00 (1)           0.00 (1)


                              CREDITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DEBITS
                              Date Description                                                                                          Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                     0.00

                              DAILY BALANCE
                                Date                Balance                   Date           Balance            Date              Balance
                                 01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021                 Page 21 of 30
                                                                                                                                FINAL STATEMENT
                                                   Return Service Requested                                               Page:             1 of 1
                                                                                                                          Statement Date: 01/29/2021
                                                                                                                          Primary Account: XXXXXX0830
                                                                        07001
                                                                                                                          Documents:       0

                                                                                                                          Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-16620-0001




                                                                                                                          E
                                                           HOPCAT-LINCOLN, LLC                                      <C> <T>
                                                           35 OAKES ST SW STE 400                                         0
                                                           GRAND RAPIDS, MI 49503                                         0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                             Account: XXXXXX0830
                               Last Statement    Previous Balance        This Statement         Current Balance       Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21              0.00              38.53 (2)          38.53 (2)


                              CREDITS
                              Date Description                                                                                                  Amount
                              01/05 Billng Vantiv_intg_pymt Merch Bankcard                 Hopcat Lincoln - Ecomm                                  38.53
                              01/08 Request To Close Account - Shawn Blonk                                                                          0.00

                              DEBITS
                              Date Description                                                                                                  Amount
                              01/05 Transfer To Coml Analysis Ck Account              4777                                                         38.53
                              01/08 Request To Close Account - Shawn Blonk                                                                          0.00

                              DAILY BALANCE
                                Date                Balance                   Date                 Balance             Date              Balance
                                 01/05                                        01/08
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021               Page 22 of 30
                                                                                                                              FINAL STATEMENT
                                                   Return Service Requested                                             Page:             1 of 1
                                                                                                                        Statement Date: 01/29/2021
                                                                                                                        Primary Account: XXXXXX9227
                                                                        07001
                                                                                                                        Documents:       0

                                                                                                                        Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-17259-0001




                                                                                                                        E
                                                           HOPCAT - KALAMAZOO, LLC                                <C> <T>
                                                           35 OAKES ST SW STE 400                                       0
                                                           GRAND RAPIDS, MI 49503                                       0




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                           Account: XXXXXX9227
                               Last Statement    Previous Balance        This Statement        Current Balance      Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21             0.00             39.42 (2)          39.42 (2)


                              CREDITS
                              Date Description                                                                                                Amount
                              01/04 Mthchgs Worldpay Merch Bankcard                   Hopcat Kalamazoo 2 - Ecom                                  39.42
                              01/08 Request To Close Account - Shawn Blonk                                                                        0.00

                              DEBITS
                              Date Description                                                                                                Amount
                              01/04 Transfer To Coml Analysis Ck Account              4777                                                       39.42
                              01/08 Request To Close Account - Shawn Blonk                                                                        0.00

                              DAILY BALANCE
                                Date                Balance                   Date                Balance            Date              Balance
                                 01/04                                        01/08
                                             Case:20-01947-jwb               Doc #:457 Filed: 04/13/2021                   Page 23 of 30

                                                      Return Service Requested                                                 Page:             1 of 1
                                                                                                                               Statement Date: 01/29/2021
                                                                                                                               Primary Account: XXXXXX4153
                                                                           07001
                                                                                                                               Documents:       0

                                                                                                                               Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-19341-0001




                                                                                                                                E
                                                              BARFLY VENTURES, LLC                                       <T> 30-0
                                                              BARFLY SITE CHECKING                                              0
                                                              35 OAKES ST SW STE 400                                            0
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                  Account: XXXXXX4153
                               Last Statement       Previous Balance        This Statement            Current Balance      Total Credits           Total Debits
                                  12/31/20              2,169.15                   01/29/21             11,451.93          12,595.00 (5)           3,312.22 (2)


                              DEPOSITS
                               Reference     Date         Amount             Reference        Date         Amount          Reference       Date       Amount

                                             01/08            3,192.00                        01/08             604.00
                                             01/08            4,073.00                        01/28           4,726.00



                              CREDITS
                              Date Description                                                                                                           Amount
                              01/08 Request To Close Account - Shawn Blonk                                                                                    0.00

                              DEBITS
                              Date Description                                                                                                           Amount
                              01/15 Commercial Service Charge                                                                                               12.22
                              01/28 Withdrawal                                                                                                           3,300.00

                              DAILY BALANCE
                                Date                   Balance                   Date                   Balance             Date                  Balance
                                 01/08                10,038.15                  01/15                 10,025.93            01/28                 11,451.93
                                             Case:20-01947-jwb            Doc #:457 Filed: 04/13/2021                 Page 24 of 30

                                                   Return Service Requested                                               Page:             1 of 1
                                                                                                                          Statement Date: 01/29/2021
                                                                                                                          Primary Account: XXXXXX0888
                                                                        07001
                                                                                                                          Documents:       0

                                                                                                                          Period: 12/31/20 to 01/29/21
MGMCSTMTN 210201-10328-0001




                                                                                                                           E
                                                           BARFLY VENTURES, LLC                                     <T> 30-0
                                                           FSA CHECKING                                                    0
                                                           35 OAKES ST SW STE 400                                          0
                                                           GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                             Account: XXXXXX0888
                               Last Statement    Previous Balance        This Statement           Current Balance     Total Credits      Total Debits
                                  12/31/20             0.00                     01/29/21               0.00             17.00 (1)          17.00 (1)


                              CREDITS
                              Date Description                                                                                                  Amount
                              01/15 Transfer From Coml Analysis Ck Account                 4777                                                    17.00

                              DEBITS
                              Date Description                                                                                                  Amount
                              01/15 Commercial Service Charge                                                                                      17.00

                              DAILY BALANCE
                                Date                 Balance                  Date                  Balance            Date              Balance
                                 01/15
Case:20-01947-jwb   Doc #:457 Filed: 04/13/2021   Page 25 of 30
Case:20-01947-jwb   Doc #:457 Filed: 04/13/2021   Page 26 of 30
Case:20-01947-jwb   Doc #:457 Filed: 04/13/2021   Page 27 of 30
         Case:20-01947-jwb          Doc #:457 Filed: 04/13/2021             Page 28 of 30




      BARFLY VENTURES, LLC                                                                   Page 2 of 2
      January 31, 2021                                                                     XXXXXX7488




OVERDRAFT/RETURN ITEM FEES

                                                           Total for                      Total
                                                         this period               year-to-date

         Total Overdraft Fees                                    $0.00                       $0.00

         Total Returned Item Fees                                $0.00                       $0.00




                                    Thank you for banking with TCF National Bank
3/5/2021                   Case:20-01947-jwb             Doc #:457    Filed:
                                                                 Activity       04/13/2021
                                                                          - Deposit Accounts           Page 29 of 30




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:41:45 AM (ET)
   Account:             072410013 • *5554 • Checking • COMMERCIAL CHECKING
   Date range:          1/1/2021 to 1/31/2021
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5554 • Checking • COMMERCIAL CHECKING
                                    Additional                                                                                         Calculated
    Post Date    Reference                            Description                                                Debit        Credit
                                    Reference                                                                                            Balance
                                                      ACCOUNT ANALYSIS FEE
    01/19/2021                                                                                                  $59.34                 $14,076.67
                                                      ANALYSIS ACTIVITY FOR 12/20
                                                      OUTGOING MONEY TRANSFER
    01/07/2021                                                     BARFLY VENTURES, LFUND                 $100,000.00                  $14,136.01
                                                      ACCOUNT
                                                      BOOK TRANSFER CREDIT
    01/07/2021                                        REF         FUNDS TRANSFER FRMDEP                                  $100,000.00 $114,136.01
                                                      XXXXXX7488 FROM
    01/31/2021 Totals                                                                                     $100,059.34 $100,000.00




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                               1/1
3/5/2021                   Case:20-01947-jwb             Doc #:457    Filed:
                                                                 Activity       04/13/2021
                                                                          - Deposit Accounts           Page 30 of 30




  Activity - Deposit Accounts

   Report created:      03/05/2021 11:42:47 AM (ET)
   Account:             072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
   Date range:          1/1/2021 to 1/31/2021
   Transaction types:   Selected transactions
   Detail option:       Includes transaction detail
   072410013 • *5608 • Checking • SMALL BUSINESS CHECKING
                               Additional                                                                                                Calculated
    Post Date    Reference                     Description                                                              Debit   Credit
                               Reference                                                                                                   Balance
                                               ACCOUNT ANALYSIS FEE
    01/19/2021                                                                                                          $3.00            $14,771.04
                                               ANALYSIS ACTIVITY FOR 12/20
                                               MISCELLANEOUS CREDIT
    01/13/2021                                 MERCHANT REFUND TERMINAL 469216 AMZN Mktp US Amzn                                $23.31   $14,774.04
                                               com WAXXXXX XXXXXXX3630
    01/31/2021 Totals                                                                                                   $3.00 $23.31




https://tcfbank.ebanking-services.com/Nubi/Services_2_0/Reports/Standard/Account_Activity_Report.aspx?st=true&pf=true                                 1/1
